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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                STATESBORO DIVISION




UNITED STATES OF AMERICA


       V.                                           CR     696-004-12


LEROY BETHEL




                                    ORDER




       On March 19, 2019, the Court granted Defendant Leroy Bethel's

motion to reduce sentence under 18 U.S.C. § 3582(c) based upon the

First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194.                     The

Court sentenced Defendant to time served with an effective date of

July    29,    2019.      The   Court also     reduced     Defendant's    term   of

supervised release to 8 years.

       At present. Defendant has filed a motion titled "Motion Under

Fed.    R.    Civ.   P.   12(e)   Requesting    a   More    Definite    Statement"

regarding the Court's Order of March 19, 2019.                     Essentially,

Defendant requests that he be released immediately and that his

term of supervised release be suspended in its entirety.

       The Federal Rules of Civil Procedure have no application in

this criminal proceeding.           Moreover, the Court remains convinced

that it is appropriate            to provide Defendant a little           time to

establish an effective residence plan and to receive any available

counseling or assistance in order to more effectively transition
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back into society.    Moreover, the Court is not inclined to reduce

the supervised release term given the history and characteristics

of this Defendant, including the multiple violations committed by

Defendant while in custody.

     Upon the foregoing, Defendant's motion for a more definite

statement (doc. 1168) is DENIED.     The sentence imposed in the Order

of March 19, 2019 shall remain in full force and effect.

     ORDER ENTERED at Augusta, Georgia, this                 day of May,

2019.




                                                             :ef judge

                                       UNITED           DISTRICT COURT
                                       SOTTT      DISTRICT OF GEORGIA
